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                            UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

NETLIST, INC.,                           )
                                         )
             Plaintiff,                  )
                                         )   Case No. 2:22-cv-293-JRG
      vs.                                )
                                         )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO, LTD;             )   (Lead Case)
SAMSUNG ELECTRONICS AMERICA,             )
INC.; SAMSUNG SEMICONDUCTOR              )
INC.,                                    )
                                         )
             Defendants.                 )

NETLIST, INC.,                           )
                                         )
             Plaintiff,                  )
                                         )
                                             Case No. 2:22-cv-294-JRG
      vs.                                )
                                         )
                                             JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.;                 )
MICRON SEMICONDUCTOR                     )
PRODUCTS, INC.; MICRON                   )
TECHNOLOGY TEXAS LLC,                    )
                                         )
             Defendants.                 )

            PLAINTIFF NETLIST, INC.’S OBJECTIONS TO REPORT AND
            RECOMMENDATION OF THE SPECIAL MASTER [DKT. 377]
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I.         The JDLA Motions

           The report and recommendation: (1) granted Samsung’s motion for a protective order against

discovery related to allegations of breach/termination of the Parties’ Joint Development and License

Agreement (Dkt. 193), (2) denied Netlist’s motion for a protective order precluding Samsung from

introducing witness testimony in support of its license defense (Dkt. 225), and (3) denied Netlist’s

motion to compel deposition of Joo Sun Choi (Dkt. 224). Dkt. 377. Netlist respectfully submits the

following objections and incorporates its previous briefings on these motions. Dkts. 209, 224, 225.

           A.     Samsung’s Motion for a Protective Order (Dkt. 193)

           Netlist agrees with the Special Master that issues such as “whether the accused products are

within the scope of the JDLA’s license grant . . . remains before this Court.” Dkt. 377 (R&R) at 5. Given

the Special Master’s instruction (as well as the parties’ concession that the scope of the license grant

is an issue before this court), Samsung’s motion to block all discovery relating to the JDLA should be

denied. To properly determine the scope of the license agreement, discovery is necessary at least as to

the negotiation history of the JDLA, the purpose of the agreement, Samsung’s interpretation of the

license scope, as well as the parties’ course of dealing relating to the execution of the joint development

project.

           Samsung’s Motion for Protective Order (and its refusal to produce the witnesses, ESI, and

other discovery requests) unilaterally blocked Netlist’s entire effort to seek all types of discovery that

touched on Samsung’s license defense and the JDLA, far exceeding issues unique to Samsung’s alleged

breach and termination. As Samsung’s motion made clear, it blocked Netlist from pursuing:

           (1) “All ESI requests related to Mr. Indong Kim and Hojung Kim,” whereas Samsung
               identified Mr. Kim as the negotiator of the JDLA and Mr. Kim as the main person in
               charge of the parties’ joint development project.

           (2) Deposition of certain individual witness noticed under Rule 30(b)(1); and

           (3) Rule 30(b)(6) deposition topics on:



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Dkt. 193 at 5.

        Although Samsung’s motion indicated that it only seeks a protective order with respect to the

above-mentioned topics “                                                                  ,” Dkt. 193 at

5, Samsung never offered a single Rule 30(b)(6) corporate representative for any of these Topics other

than Topic 115 (subject to the court’s order) throughout the entire discovery.1

        To be clear, it is Samsung that injected the license defense and asked this Court to find that

the JDLA was still valid as of July 15, 2020 and throughout this entire Action. See Ex. 1 (2023-11-20

Samsung Supp. Rog Responses) at 104

                 ; see also Dkt. 337 (motion for summary judgment finding all accused products are

subject to the patent license in the parties’ 2015 JDLA”); Dkt. 341 (Samsung moved for summary

judgment for no willfulness based on its purported good faith belief of a license defense). Samsung’s

refusal to produce any witness for deposition on top of its motion for summary judgment causes

significant prejudice to Netlist.

        Samsung argued in its motion that “Netlist has had a full and fair opportunity to take discovery


        1
         Although Samsung initially designated Mr. Hyun Ki Ji as a witness on Topic 115, it was
conditional and subject to this Court’s ruling. As of today, Samsung has not made it clear whether it
would offer Mr. Ji for deposition or rely on his testimony at trial.



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from Samsung” from former proceedings before the C.D. Cal. and Samsung I action. Dkt. 183 at 6.

Samsung’s counsel also made the same representation before the Special Master during the hearing.

See, e.g., Dkt. 380-2 (2024-01-05 Hearing Tr. before the Special Master) at 54:6 (“We produced our

license witnesses.”). Not so.

         First, the scope of the JDLA’s license grant was not at issue in C.D. Cal. That case concerns

whether Samsung breached the JDLA’s supply provision and Netlist properly terminated the JDLA

as a result. The scope of the license is squarely before this Court and Netlist is entitled to take discovery

on it.

         Second, the “license witness” Samsung’s counsel referred to during the hearing was Mr.

                  who was only designated to testify in this Action as to



                                                 . Ex. 2 (Netlist’s Rule 30(b)(6) depo notice set 1); Dkt.

437-26 (2023-11-05 Tishman Email)



                                                                                                     In fact,

during a previous deposition,

                                                                                Ex. 3 (2022-12-21

          .) at 30:17-29, 21-22




         Third, even if Netlist and Samsung agreed to cross-use some deposition transcripts from the

C.D. Cal. Action, Samsung refused to allow that until the tail end of fact discovery despite Netlist’s

repeated requests. See Ex. 4 (2023-11-02 Email between Zhao and Tishman) (“Further, Netlist has

asked for production of C.D. Cal. transcripts at least on: October 31, October 30, October 29, October



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26, and October 25. The parties met and conferred on this last week as well.”).

        Further, Samsung substantively changed its position with respect to the license scope after the

C.D. Cal. court entered judgment and after the Samsung I matter (Netlist v. Samsung, No. 21-cv-463)

went to trial. Specifically, at the pretrial conference of the Samsung I action, Samsung stated:

        MR. CORDELL: You are correct. . . . My point is that as the briefing was developed, no one
        seemed to -- to be focused on whether or not these products were the jointly developed
        products or not. That issue seemed to kind of go by the boards, as it should, because the
        reality is that JDLA was in no way limited to jointly developed products [or its
        subsidiaries]. Samsung I, Dkt. 426 (PTC Tr.) at 28:8-29:14, 26:2-8 (emphasis added).

Later, before the Ninth Circuit, Samsung stated:

        [T]he recitals are very clear -- and parties put recitals in agreements to make sure language isn’t
        tortured down the road by lawyers and courts. . . Here’s what our purpose is, interpret this
        agreement consistent with our purpose. And when you look at the recitals, what does it say
        about the licenses? Whereas in connection with their collaboration hereunder, the parties wish
        to grant to each other a cross-license under each party’s patents. The licenses are being
        given in connection with the collaboration. That’s the joint development project.

Dkt. 237-2 at 15:10-21.

        In light of the complete change in Samsung’s position, Netlist should be allowed to conduct

discovery regarding Samsung’s interpretations of the JDLA and its basis for that interpretation, which

is directly relevant to Samsung’s license defense and its good faith of license defense as to Netlist’s

willful infringement claim.

        Fourth, this Court has decided to take up Netlist’s motion for summary judgment as well as

Samsung’s cross-motion on the license defense. Dkt. 310 (denying Samsung’s motion to strike

Netlist’s motion for summary judgment, rejecting Samsung’s argument that “Netlist improperly

invited the Court to take up issues within the clear jurisdiction of the [Central District of California]”

and denying Samsung’s motion to extend the deadline to respond to Netlist’s summary judgment

motion). In light of this Court’s decision, allowing discovery to proceed on the effectiveness of the

JDLA is appropriate and can reach the most efficient resolution of the parties’ disputes on Samsung’s




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license defense.

        Thus, Samsung’s motion for a protective order should be denied at least as to Netlist’s request

for ESI and Rule 30(b)(6) Topic Nos. 101, 115, 116, 117, and 118.

        The Special Master granted Samsung’s motion for a protective order against discovery related

to allegations of breach/termination of the Parties’ JDLA. The C.D. Cal. court has now scheduled a

trial on this issue for March 26, 2024. Nonetheless, solely to preserve its rights, Netlist objects to the

Special Master’s recommendation with respect to breach/termination of the JDLA. This Court

remains the only court that can address the entire dispute between the parties, i.e., (1) whether

Samsung breached the patents in suit, (2) whether the JDLA’s license grant covers the accused

products, and (3) whether Netlist properly terminated the JDLA based on Samsung’s material breach.

Dkt. 209 at 5-6. Thus, this Court should adjudicate each of these issues. This would not only be more

efficient, but would also prevent Samsung from taking inconsistent positions in this case and in C.D.

Cal. as detailed above. The Court should thus permit Netlist to take discovery on the full scope of

Samsung’s license defense, including questions relating to Samsung’s breach and Netlist’s subsequent

termination. In the event this Court decides that discovery on issues unique to Samsung’s breach and

termination as to the JDLA should not proceed, Netlist respectfully asks the court to enter an order

allowing Netlist to conduct discovery subject to such limited exception.

        B.         Netlist’s Motion to Preclude Samsung from Introducing Witness Testimony
                   (Dkt. 225)

        Relatedly, because Samsung unilaterally halted discovery without waiting for this Court’s order

on its motion, Samsung should be precluded from raising its license defense. And at a minimum,

Samsung should not be allowed to rely on any documents or witnesses’ testimony produced after fact

discovery closed on November 20, 2023. Dkt. 225; Fed. R. Civ. P. 37(b)(2); see also Imperium IP Holdings

(Cayman), Ltd. v. Samsung Elecs. Co., Ltd., 259 F. Supp. 3d 530, 552 (E.D. Tex. 2017) (“The sanctions




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available under Rule 37 are flexible, and the court has the authority to apply them in many varied

forms, depending on the facts of each case. ‘Rule 37 only requires the sanction the Court imposes

hold the scales of justice even”) (quoting Guidry v. Cont'l Oil Co., 640 F.2d 523, 533 (5th Cir. 1981));

Kamatani v. Benq Corp., 2005 WL 2455825, at *15 (E.D. Tex. Oct. 4, 2005) (striking defense upon

finding defendant’s conduct “demonstrate[d] a conscious intent to evade the discovery orders of the

Court”); Atlas Glob. Techs. LLC v. TP-Link Techs. Co., 2023 WL 4936210, at *4 (E.D. Tex. Aug. 2, 2023)

(“GRANTS the motion such that the sales figures in the IDC reports relied upon by Plaintiff’s expert

shall be deemed established and may not be attacked by Defendants”); Denman Springs, LLC v. L.G.

Burke, Inc., 2021 WL 2794697, at *2 (E.D. Tex. Apr. 20, 2021) (because the defendants failed to comply

with the Court’s order for document production, holding “it will be taken as established” that

defendants “failed to pay the vendors mentioned in Request Numbers 4, 7, 10, 13, 16, 19, and 22”).

        C.      Netlist’s Motion to Compel Deposition of Mr. Choi (Dkt. 224)

        The Special Master also recommended denial of Samsung’s motion to compel the deposition

of Joo Sun Choi. First, the Special Master concluded that “Mr. Choi’s deposition would not be relevant

to the issues in this case” given the Special Master’s recommendation to grant Samsung’s motion to

bar discovery on Samsung’s material breach of the JDLA’s supply provision. Dkt. 377 (R&R) at 5. To

preserve its rights, Netlist objects to this recommendation for the same reasons as explained in Section

I(A), supra.

        Second, the Special Master’s report further states that “even if Mr. Choi’s deposition were

relevant to issues of this case, his high-level position at Samsung Display is another sufficient basis for

denial pursuant to the apex doctrine.” Dkt. 377 (R&R) at 5. Netlist objects to this finding. The mere

fact that Samsung has given Mr. Choi the title “President” does not confer “apex” status. See Mobile

Equity Corp. v. Walmart Inc., 2022 WL 36170, at *1 (E.D. Tex. Jan. 4, 2022) (“[b]eing one of 110 senior

vice presidents” of a multinational corporation does not necessarily make a witness protected by the



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apex doctrine). At best, Mr. Choi’s current position is relatively high up for his particular division.

Samsung does not assert that he is the CEO or a high-level executive of any of the named Defendants

in this action. Rather, after his involvement in the events of this case, Mr. Choi was promoted to head

a subsidiary within the Samsung family of divisions. Samsung, however, is a multinational

conglomerate with 233 subsidiaries as of June 30, 2023, not to mention numerous divisions. See Dkt.

224-14 (Samsung 2023 Half-year Business Report) at 55. If the “president” of a division were

considered to be an apex witness solely due to their title, Samsung would likely have 250 or more apex

witnesses.

        Further, even if Mr. Choi qualifies for apex status, he has unique knowledge that is relevant to

this litigation. Fam. One v. Isaacks, No. 9:22-CV-00028-MJT, 2023 WL 4503537, at *6 (E.D. Tex. Apr.

25, 2023) (Apex deposition warranted where party cannot obtain the “desired information through

less-intrusive means.”).



                                                        . Dkt. 224 at 1-3.



                                                                             Dkt. 224-04 at SEC006047.



                  Dkt. 224 at 1-2. This demonstrates that he has unique knowledge, and Netlist is

entitled to his deposition. Fam. One, 2023 WL 4503537, at *8 (Apex witness possessed unique

knowledge where “lower-ranked employees’ depositions . . . pointed fingers at LLB CEO Stephen

Keener as either responsible for the failure to implement child sexual abuse training, or as the only

individual with authority to make this decision.”).

II.     Samsung’s Motion to Compel the Deposition of Dr. Hyun Lee (Dkt. 202)

        The report and recommendation finds that a five-hour deposition of Dr. Lee is warranted



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because he is “the only surviving named inventor of the ’608 Patent, which alone is sufficient to

compel his deposition” and he “has knowledge of JEDEC standards and their relation to the asserted

patents.” Dkt. 377 at 11. Netlist respectfully submits the following objections and incorporates

Netlist’s opposition to Samsung’s motion. Dkt. 238.

        Dr. Lee is an inventor on one of the patents in suit, U.S. Patent No. 10,268,608 (“’608 patent”).

In prior litigation between Netlist and Samsung, Dr. Lee was deposed for 12 hours on U.S. Patent

No. 10,860,506 (“’506 patent”), which is a continuation of the ’608 patent. Dkt. 62-4. The ’506 and

’608 patents claim priority to the same provisional application, and share a common specification. Dr.

Lee is not a named inventor on the other two patents-in-suit. See Dkt. 12-01 at 2; Dkt. 12-02 at 2.

        A.      Dr. Lee’s Prior Testimony on the ’506 Patent and Samsung’s Expert’s Reliance
                on It Shows There is No Need for an Additional Deposition

        Netlist respectfully disagrees that Samsung has demonstrated a need for additional information

regarding the patents in the ’506/’608 family. In his prior deposition, Dr. Lee was asked about the

conception/reduction to practice of the invention of the ’608 patent, which claims priority to the same

provisional as the ’506 patent, and stems from the same October 12, 2011 invention disclosure. For

example, Dr. Lee was examined

                               . See Ex. 5 at 158:7-17

                                                                                           172:21-82:13

                                                                While there are some differences in the

claims of the ’506 and ’608 patents, Samsung’s expert Mr. McAlexander takes the position that the

differences between these claims are “de minimis.” Dkt. 359-6 (“[O]ther patents in the same family

or related to the ’608 Patent have claims that mirror the claims of the ’608 Patent . . . . In fact, U.S.

Patent No[.] 10,860,506 and 9,824,035 have claims that are so close to the claims of the ’608 Patent

that the Examiner rejected the ’608 Patent claims . . . .”).




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        Moreover, Dr. Lee testified that he




Ex. 5, 126:5-18.

        [




Id., 34:11-35:9.

        B.         Dr. Lee’s Prior Testimony on JEDEC and Samsung’s Expert’s Reliance on It
                   Shows There is No Need for an Additional Deposition

        Dr. Lee was questioned about JEDEC-related issues at his prior deposition as well, including

Netlist’s motivation for attending JEDEC, Dr. Lee’s role as a JEDEC representative, and how Netlist’s

JEDEC participation impacted patent prosecution. See, e.g., Ex. 5 at 87:14-88:24



            ; Ex. 5 at 91:20-93:1




                                                See id., 121:22-122:24 (examination on           ), id.

126:5-127:2 (                                ), 130:10-22                                  ).

        To the extent Samsung contends that Dr. Lee may have knowledge of JEDEC documents

relevant to the two other patents at issue in this case,

                                                                        . Ex. 5 at 127:4-128:6




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                                        Moreover, Dr. Lee is not a named inventor on the two other

patents at issue in this case. Dkt. 12-01 at 2 (’912 patent); Dkt. 12-02 at 2 (’417 patent).

III.    Samsung’s Motion to Compel Information Regarding Netlist’s Negotiations with SK
        Hynix (Dkt. 139)

        The Report and Recommendation finds that “Netlist must produce settlement and license

negotiation documents showing any valuation or apportionment of value by Netlist or SK hynix to

the patents asserted against Samsung in this case.” Dkt. 377 at 9. Netlist respectfully submits the

following objections and incorporates Netlist’s opposition to Samsung’s motion. Dkt. 156.

        First, Judge Payne has considered and squarely rejected the same arguments advanced in a

related matter, Micron I, No. 22-cv-203, including Samsung’s new argument that it would need the

“negotiation documents” for its damages’ expert apportionment analysis.

        As Judge Payne held:

        [T]he concern that has always deterred the Court from ordering the production of the
        negotiations themselves is that doing that would chill settlement negotiations in
        current cases if there was a concern that those negotiations would become open for
        discovery in future cases, and that’s what I guess weighs against the probative value.
        And I just don’t know what the probative value of those negotiations would be when
        you have a consummated license. . . I will deny the request for the settlement
        negotiations as long as the consummated settlement license agreement has been
        produced.

Dkt. 156-3 (Hearing Tr.) at 46:22-47:5; 50:1-4.

        At the hearing, Samsung’s counsel argued that “importantly, Judge Payne did not consider the

contradictory positions Netlist [] has taken about the relevancy of negotiation.” Dkt. 380-2 (2024-01-

05 Hearing Tr.) at 66:20-24. Not so. After Judge Payne denied Micron’s motion to compel the same

negotiation materials, Micron filed a motion for reconsideration,



Micron I, Dkt. 168, (“



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                                                                        ). On October 23, 2023, Judge

Payne entered an order, again, rejecting Micron’s same argument, Micron I, Dkt. 255:




        Second, the Report and Recommendation is also inconsistent with this District’s ordinary

practices of denying motion to compel licensing negotiations. See, e.g. Maxell Ltd. v. Apple Inc., 2019

WL 7905454, at *3 (E.D. Tex. Nov. 13, 2019) (denying the patentee’s motion to compel the accused

infringer to, regarding its license agreements, “identify how the parties arrived at such royalty rate

and/or consideration”); Software Tree, LLC v. Red Hat, Inc., No. 09-cv-97, 2010 WL 2788202, at *1

(E.D. Tex. June 24, 2010) (“[T]he Eastern District of Texas has historically followed a bright-line rule

protecting settlement negotiations from discovery”).

        Third, the Special Master ordered production of negotiation materials specifically about

“valuation or apportionment of value by Netlist or SK hynix to the patents asserted against Samsung

in this case.” Dkt. 377 at 9 (emphasis added). However, none of the patents asserted here (the ’912,

’417, and ’608 patents) were at issue in Netlist’s previous litigations or other disputes with SK hynix.

In fact, the ’417 patent did not issue until August 17, 2021, after the SK hynix license agreement was

executed in April 2021. Samsung cannot show the relevance of SK hynix negotiation materials.

        Fourth, Samsung’s prejudice argument is not well taken. The error of Samsung expert’s

damages analysis falls on




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                                                                                           Discovery

regarding additional settlement negotiation materials would not resolve the error or otherwise provide

more information beyond the license itself.

       Thus, this Court should not adopt the Special’s Master’s report and recommendations and

should deny Samsung’s motion to compel, Dkt. 139.



Dated: February 8, 2024                          Respectfully submitted,

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                                    Attorneys for Plaintiff Netlist, Inc.




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                                  CERTIFICATE OF SERVICE

       I hereby certify that, on February 8, 2024, a copy of the foregoing was served to all counsel of

record for the relevant defendants via Email as agreed by the parties.

                                                         /s/ Jason Sheasby
                                                         Jason Sheasby


             CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL

       I hereby certify that the foregoing document and exhibits attached hereto are authorized to be

filed under seal pursuant to the Protective Order entered in this Case.


                                                         /s/ Jason Sheasby
                                                         Jason Sheasby




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